      Case 1:22-cv-00031-AKH-BCM Document 35 Filed 05/08/22 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ABDIELL SUERO and MAGGIE WILKINS,                       Case No.: 1:22-cv-31-AJN
individually and on behalf of all others similarly
situated,

                                    Plaintiffs,         INDEX IN SUPPORT OF BRIEF IN
                - versus -                              OPPOSITION TO MOTION TO
                                                        DISMISS AMENDED COMPLAINT
NFL, NEW YORK FOOTBALL GIANTS,
INC., NEW YORK JETS, LLC, and NEW
MEADOWLANDS STADIUM COMPANY,
LLC,

                                  Defendants.

                                              INDEX

Exhibit “A” – Declaration of Plaintiffs’ attorney Evan Spencer

Exhibit “B” – Screenshots of MetLife Stadium website before lawsuit was filed

Exhibit “C” – Screenshots of MetLife Stadium website after lawsuit was filed

Exhibit “D” – Photographs of the Meadowlands dump site

Exhibit “E” – MetLife Stadium logo

Exhibit “F” – Aerial photograph of East Rutherford, New Jersey

Exhibit “G” – Aerial photograph of Madison Square Garden in New York City


Dated: New York, New York
       May 8, 2022




                                                  1
      Case 1:22-cv-00031-AKH-BCM Document 35 Filed 05/08/22 Page 2 of 2




                                                                  Respectfully submitted,

                                                                  s/Evan Spencer
                                                                  Evan Spencer
                                                                  Evan Spencer Law, PLLC
                                                                  NY Bar# 2786812
                                                                  305 Broadway, 7th Floor
                                                                  New York, NY 10007
                                                                  Tel. 917.547.4665
                                                                  Evan@EvanSpencerLaw.com
                                                                  EvanSpencerLaw.com




                             CERTIFICATE OF SERVICE

The undersigned hereby certifies that on the 8th day of May 2022, a true and correct copy of the
above and foregoing document was electronically filed with the Clerk of the Court using the
CM/ECF system, which will send notification of such filing to all parties’ counsel of record.

                                                                  s/Evan Spencer
                                                                   Evan Spencer

                                               2
